                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )     CASE No.
                                            )     1:20-CR-428-ELR-AJB
                                            )
MAURICE BANKS,                              )
        Defendant.                          )

 DEFENDANT’S MOTION FOR RECONSIDERATION OF DETENTION
                        ORDER

      Mr. Banks was arraigned in this case on February 11, 2021. Doc. 45. The

indictment alleges one count of conspiracy to steal, take away, and carry firearms

that have been shipped and transported in interstate commerce from the premises

of 10 different gun store locations and two counts of theft of firearms from a

federal firearms licensee.

      A detention hearing was held on February 16, 2021. Doc. 50. At the

hearing, the government stated that it had evidence that “Mr. Banks’ phone” was

located at or near the scene of many of the burglaries. The Court ordered that Mr.

Banks be detained because “defendant evaded capture after indictment for

approximately 2 months. The evidence against him is strong. He has a lengthy

criminal record and spotty, uncertain employment.” Doc. 51. Mr. Banks now asks

this Court to reconsider its ruling so that he can be released to work with his

attorney to fight the allegations against him. He asserts that the government is
prolonging the case against him by suggesting there is additional discovery, but it

has yet to provide it.

      At the detention hearing on February 16, 2021, defense counsel provided the

government with a 1TB hard drive to house the discovery in the case. Counsel

received the discovery on March 2, 2021. The initial and supplemental discovery

provided at that time includes multiple videos, phone dumps, and investigative

reports related to ten alleged robberies.     On April 13, 2021, defense counsel

contacted the government asking where in discovery she could find the information

about Mr. Banks’ phone. The government responded that additional discovery

would be provided soon, including discovery related to Mr. Banks’ phone and

phone records. The government later responded that some phone records had been

produced and defense counsel agrees that this is true.

      On April 21, 2021, counsel contacted the government to find out when the

supplemental discovery would be provided. On April 22, counsel was notified that

additional discovery will include search warrants, more interview recordings, Mr.

Banks’ phone dump and related reports, and more reports of investigation. The

government informed counsel this discovery would not be ready to be produced

until approximately April 30th. Counsel has not received the discovery.

      Counsel has also emailed the government making specific requests for items

in discovery and has not received a response to those requests. Mr. Banks asserts


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that it is a violation of his Due Process rights to continue to hold him without

producing all of the evidence that the government allegedly has to prove his

involvement in the charged crimes.

      Additionally, counsel has reviewed the discovery provided thus far. The

discovery does not show that “Mr. Banks’ phone” was at or near the scene of the

burglaries. During his arrest, officers seized a flip phone with telephone number

916-805-6157 from Mr. Banks. It does not appear that phone records related to

this phone have been produced yet.

      In one report, the agents discuss a phone subscribed to Mr. Banks’ girlfriend,

Lashiquita Freeman and believed to be use by Mr. Banks. The reports provided

show that this phone was not near any of the burglaries. See below:




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ATF – 000261-262.

      The reports also discuss two other phones alleged to be used by Mr. Banks,

even though there is no subscriber information for these phones.      The phone

numbers associated with these phones are 470-230-4141 and 470-773-7787. The

phone associated with the 4141 number only had records up to 8/20/20 and does

not appear to be associated with any of the burglaries. Agents analyzed cell site

data and alleged that the 7787 number was at or near the scene of some of the

burglaries during very large swaths of time (including a 10-hour time period

surrounding one burglary). See below:




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ATF-000393-394.

      Additionally, the evidence provided thus far does not show that this 7787

phone was in the possession of Mr. Banks at or near the time of these burglaries. It

appears the phone was recovered from a Uhaul truck that was being driven by to

other men who were shoplifting and who used a Uhaul truck to get away. The

government’s theory now seems to be that Mr. Banks called the phone that was at

or near the burglaries, not that his phone places him at or near the burglaries. This

theory is apparently based on interviews of several co-defendants and/or

participants in the alleged crimes who claim that Mr. Banks induced them to

commit the alleged crimes.

      Mr. Banks asserts that the evidence against him in this case is not strong as

the government previously suggested. Indeed, for a person who was supposed to




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have mastermind 10 burglaries of gun stores, there appears to be no evidence that

he ever had any possession of any firearm at all, stolen or otherwise.

      Therefore, Mr. Banks asks the Court to permit his release on bond so that he

can continue to work with his lawyer to fight this case and prepare for trial.

Should this Court have concerns about Mr. Banks’ release, counsel asserts that

those concerns can be mitigated through conditions crafted by this Court. Under

the Bail Reform Act, a judicial officer:

      shall order the pretrial release of [a defendant] on personal
      recognizance, or upon execution of an unsecured appearance bond in
      an amount specified by the court . . . unless the judicial officer
      determines that such release will not reasonably assure the appearance
      of the person as required or will endanger the safety of any other
      person or the community.

18 U.S.C. § 3142(b) (emphasis added). See also United States v. Byrd, 969 F.2d

106, 109 (5th Cir. 1992) (“There can be no doubt that this Act clearly favors

nondetention.”). If the conditions outlined in subsection (b) will not serve to

assure the appearance of the defendant at trial or will endanger another person or

the community, the judicial officer shall order the pretrial release of the person

“subject to the least restrictive further condition, or combination of conditions”

necessary to meet the requirements of the Act. 18 U.S.C. § 3142(c)(1)(B). Thus,

the Act limits the application of pretrial detention to a small category of offenders

in a limited number of circumstances. See Salerno, supra. Only in rare

circumstances should release be denied, and doubts regarding the propriety of
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release should be resolved in favor of release. United States v. Gebro, 948 F.2d

1118, 1121 (9th Cir.1991) (emphasis added); United States v. Motamedi, 767 F.2d

1403, 1405 (9th Cir.1985).

        As this Court is aware, pretrial detention is not merely a restriction on the

liberty of a defendant. The United States Supreme Court has long held that

fundamental Fifth and Sixth Amendment rights may also be irreparably

compromised by such detention. See Stack, 342 U.S. at 4. The Stack court detailed

the history and purpose of bail pending trial, stating, in pertinent part:

        From the passage of the Judiciary Act in 1789, 1 Stat. 7391, to the
        present Federal Rules of Criminal Procedure, Rule 46(a)(1), federal
        law has unequivocally provided that a person arrested for a
        noncapital offense shall be admitted to bail. This traditional right to
        freedom before conviction permits the unhampered preparation of a
        defense, and serves to prevent the infliction of punishment prior to
        conviction. Unless the right to bail before trial is preserved, the
        presumption of innocence, secured only after centuries of struggle
        would lose its meaning.

Id. at 4 (emphasis added). Here, Mr. Banks and his attorney have to review

discovery via Zoom, rather than in person because the Robert A. Deyton Detention

Center appears to have multiple recent cases of Covid-19 requiring several pods to

be on quarantine on a regular basis. Counsel and Mr. Banks would prefer to be

able to meet at counsel’s private office to discuss and review the discovery in the

case.




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      Any concern the Court has about Mr. Banks criminal history can be

managed with conditions imposed by this Court. Mr. Banks asserts that although

he does have three prior felony convictions, they are not recent convictions. He

has served his time for those convictions and he should not be denied bond based

on those old cases. He has recent arrests for misdemeanor domestic violence,

misdemeanor obstruction, misdemeanor theft by taking, and aggravated assault,

but three of his recent cases are related to the same domestic dispute. He would

like to resolve these cases with the Dekalb and Cobb County courts and he cannot

do so while he is in federal custody.

      Mr. Banks asserts that conditions can be crafted to ensure his appearance in

and ensure the safety of the community. Mr. Banks is willing to abide by any

conditions crafted by the Court, including wearing an ankle monitor and residing at

the half-way house, if the Court deems such conditions to be appropriate.

      Respectfully submitted this 7th day of May 2021.

                                 s/Saraliene S. Durrett
                                 SARALIENE S. DURRETT




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                          CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this date electronically filed the

foregoing motion for reconsideration of detention with the Clerk of the Court using

the CM/ECF system which will automatically send email notification of such filing

to the following attorney(s) of record:

All Defense Counsel

All AUSAs of record

             Respectfully submitted this 7th day of May 2021.


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